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                                                       September 14, 2022

VIA ECF AND EMAIL
The Honorable Andrew L. Carter, Jr., U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square, Room 435
New York, NY 10007
ALCarterNYSDChambers@nysd.uscourts.gov

           Re:       Malcolm v. The City of New York
                     20-cv-09641(ALC)

Dear Judge Carter:

       This letter is submitted on behalf of the parties to respectfully request a conference with
the Court.

        The instant action began on November 17, 2020. On September 1, 2021, Plaintiffs filed a
motion for conditional certification (Docket Entry 47) which was fully submitted on February
21, 2022 (Docket Entry 65). On March 1, 2022, Plaintiffs filed a request for an initial
conference. Docket Entry 66. On April 5, 2022, Plaintiffs filed a motion for reconsideration and
to amend their complaint (Docket Entry 80) which was fully submitted on April 19, 2022
(Docket Entry 83). On July 28, 2022, Defendant filed a motion on consent for leave to file a
later answer. Docket Entry 85. To the best of the parties’ understanding the above
request/motions are unresolved/undecided.

        In the interest of moving forward, and hopefully resolving this matter, the parties have
exchanged initial disclosures and Defendant has submitted responses to Plaintiffs’ initial
document requests and interrogatories including the production of Plaintiffs’ CityTime and
payroll information.1 However, the parties have reached an impasse regarding, inter alia, the
scope of discovery and settlement in the absence of a decision on the certification motion. As
such, the parties respectfully request a conference to discuss the above motions and the
appropriate scope of discovery.
                                                      Respectfully submitted,
                                                      Law Office of Paul A. Pagano, P.C.

                                                By:
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1
 The parties are in the process of reviewing the initial disclosures, discovery responses and
documents and reserve all rights with respect to same.
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cc: All Counsel of Record (VIA ECF)
